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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

AMOS BELLAMY, TOMMY B. WILLIAMS, )
WILLIE E. JOHNSON, CHARLIE MAE

MILLER, ESSIE MAE ANDERSON, LILLIE )
M. JONES, LESSIE M. JOHNSON, MERY

ANN JONES, ANNIE LEE PIGFORD, )

SHIRLEY G. CURRY, VELETA CURRY,

E. K. "JACK" SCOTT, RANDOLPH )
WOODFAULK, and WALLACE NESBITT, on

behalf of themselves and all others )
Similarly situated,

Plaintiffs, CIVIL ACTION NO.
) TCA 83-7126 MMP

vs

TAYLOR COUNTY, FLORIDA; WALTER ROWELL,
DELTON E. LUNDY, WALTER EDWIN HENDRY, )
ALBERT JOHNSON, JR., and JACKIE SHAW,
County Commissioners of Taylor County, )
Florida, their seccessors and agents,
all in their official capacities, )

Defendants.

FINAL JUDGMENT

On April 29, 1983, the above named Plaintiffs filed their
Complaint against the above named Defendants alleging that at-large
county-wide voting for members of the Taylor County Commission under
the Commission form of government in Taylor County excludes black

representation and participation and minimizes and cancels out black

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voting strength in violation of their rights secured by the Voting
Rights Act of 1965, as amended, Pub. L. No. 97-205, 8 3, 96 Stat. 134
(1982), amending 42 U.s.c. 81973, et seq. (hereafter "Voting Rights
Act").

The Court, having reviewed the status of this action, and being
aided by the recommendations of the Plaintiffs' and Defendants' counsel,
and being of the opinion that the best interest of all the parties and
all the citizens of Taylor County, Florida, would be served by approving
the Final Judgment, and the Court having reviewed the Final Judgment
tendered by Plaintiffs' and Defendants' counsel, finds that said Judgment

was entered into voluntarily by the parties, and that it should be

approved.

IT IS THEREFORE, ADJUDGED AND DECREED AS FOLLOWS:

1. This decree extends to all issues set forth in the Complaint
in this matter and to the class of Plaintiffs defined as all black re-
sidents of Taylor County, Florida.

2. This Court has jurisdiction over the subject matter of this
action and the parties thereto.

3. That pursuant to Florida Constitution, Art. 8, §5, Taylor
County has provided for the election of all members of the Taylor County
Commission through at-large elections,

4, That due to a series of factors including a history of official
racial discrimination within Taylor County and the State of Florida and

racially polarized voting in elections within Taylor County, the at-large
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election systems for the Taylor County Commission has had the effect

of denying the black citizens of Taylor County an equal opportunity to
participate in the political process and elect candidates of their own
choice in violation of Plaintiffs' rights under the Voting Rights Act.

5. Defendants are enjoined from providing County Commission
at-large elections in violation of Plaintiff's rights under the Voting
Rights act.

6. The attached "Election Plan", Appendices 1 through 3, sets
forth the mechanism and plan for Taylor County, Florida, to conduct
elections for the members of the County Commission in accordance with
the Voting Rights Act. Therefore, the Court finds that the "Election
Plan" as submitted is a proper remedy in this action, and is adopted
and incorporated by reference into this Final Judgment as attached.

7. The Court finds that the Plaintiffs and Defendants have
agreed on the amount of Plaintiff's accumulated costs and attorney's
fees and orders that all attorney's fees and costs for Plaintiffs'
counsel shall be payable to Plaintiffs by Defendants within ten (10)
days after the execution of this Final Judgment.

8. That upon entry of this Final Judgment, this litigation is

terminated and the action is hereby dismissed.

ORDERED AND ADJUDGED this Vid day of LQtttviber , 1983.

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UNITED STATES DISTRICT JUDGE

Copies furnished to:
LIPMAN & WEISBERG
ROBERT J. SCHRAMM
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IN THE UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISTRICT OF FLORIDA

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WOODFAULK, and WALLACE NESBITT, on
behalf of themselves and all others
similarly situated,

Plaintiffs,

Vs

TAYLOR COUNTY, FLORIDA; WALTER ROWELL,
DELTON E. LUNDY, WALTER EDWIN HENDRY,
ALBERT JOHNSON, JR., and JACKIE SHAW,
County Commissioners of Taylor County,
Florida, their successors and agents,
all in their official capacities,

Defendants.

APPENDIX

1. Map of Election Districts

CIVIL ACTION NO.
TCA 83-7126 MMP

2. Demographic Data Reflecting Population and

Voter Registration by District

3. Description of Election Plan
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COUNTY COMMISSION DISTRICTS |
NAME PRECINCTS POPULATION

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APPENDIX 2

DEMPGRAPHIC DATA REFLECTING POPULATION AND
VOTER REGISTRATION BY PROPOSED COUNTY
COMMISSIONER DISTRICTS

Population Registered Voters
District Total White Black/fother Total White Black/other
I 3,438 2,862 549 27 1,521 1,372 142 7
It 3,336 3,248 21 67 1,276 1,261 7 8
III 3,121 3,011 85 25 1,251 1,235 14 2
IV 3,229 2,688 500 41 1,617 1,459 153 5
Vv 3,408 1,023 2,368 17 1,134 463 669 2

Totals 16,532 12,832 3,523 177 6,799 5,790 985 24
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APPENDIX 3

DESCRIPTION OF COUNTY COMMISSIONER DISTRICTS
and PRECINCTS

A. COUNTY COMMISSIONER DISTRICT # 1
PRECINCT NO. 12
Beginning at the center of Jefferson Street and Hampton Springs Avenue,
thence West along centerline of Hampton Springs Avenue to US 98 W,
run Southwest along US 98 W to the West city limits line of Perry,
Florida, thence North along city limits boundary to the Northwest
corner of city limits, thence East along the North city limits boundary
to the centerline of SR 55, thence South along centerline of SR 55 to
Jefferson Street, continue South on Jefferson Street to the point of
beginning. Lying and being in County Commissioner District No. l.
PRECINCT NO. 14
Beginning at the intersection of the North boundary line of the city
limits of Perry, Florida and the centerline of Highway 221, run North-
west along said road to the intersection of the centerline of Pisgah
Road, thence West along the centerline of Pisgah Road to the Inter-
section of US 19, thence Northwesterly along centerline of US 19 to
the Cabbage Grove Tower Road, thence Westerly and Southwesterly along
centerline of said road to the intersection of Highway 98 West, thence
West on Highway 98 to the intersection of Mandalay Road, thence South-
westerly on said road to the intersection of Williams Fish Camp Road,
thence Southerly on said road to the middle of the Aucilla River, thence

Southerly along middle of said river to the Gulf of Mexico, thence
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Southeasterly along shoreline of Gulf of Mexico to the middle of
Regular Creek, thence Northerly along the middle of Regular Creek

to the intersection of Highway 98, thence Southeasterly on said road
to the intersection of O'Steen Road, thence North along the centerline
of said road to the intersection of Woods Creek Road, thence East
along the centerline of said road to the West city limit boundary,
thence North along city limit boundary to the Northwest corner of city
limits, thence East along city limit boundary to the centerline of the
intersection of Highway 221 and the point of beginning. Lying and

being in County Commissioner District No. l.
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B. COUNTY COMMISSIONER DISTRICT # 2.

PRECINCT NO. 2
Beginning at the intersection of Puckett Road (SR 361-A) and the South
boundary line of the city limits of Perry, Florida, thence South along
the centerline of Puckett Road to the intersection of Industrial Park
Drive, thence East along Northside of centerline of said road to center-
line of the intersection of Airport Drive, thence North on Airport
Drive to the intersection of Forest Capital Drive, thence East along
centerline of said road to the Westside of US 19, thence South along
West boundary of US 19 to the intersection of Industrial Park Drive,
thence West along Southside of centerline of said road to the inter-
section of Puckett Road, thence South along centerline of said road
to the intersection of Holt Road, thence West along centerline of said
road to intersection of Golf Course Road, thence South along center-
line of said road to the middle Fenholloway River, thence Westerly
and Northwesterly along middle of said river to the intersection of
Hampton Springs Road, thence North and Northeasterly along centerline
of said road to the intersection of Highway 98, thence Westerly along
centerline of said road to the center of Regular Creek, thence South-
erly along center of said creek to the Gulf of Mexico, thence South-
easterly along the shoreline of the Gulf of Mexico to the mouth of
the Spring Warrior Creek, thence Easterly and Northeasterly along
Spring Warrior Creek to the Beach Road (SR 361), thence Northerly along
centerline of said road to the centerline of intersection of Potts

Still Road, thence Northerly along centerline of Potts Still Road to
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the intersection of Walker Road, thence Northeasterly along centerline
of Walker Road to the centerline of the intersection of US 19, thence
Northerly along the centerline of US 19 to the intersection of Padgett
Road (356-A), thence East along centerline of Padgett Road to the Middle
of the Seaboard Coastline Railroad, thence Northerly along middle of
said railroad to the South boundary of the city limits of Perry, Florida,
thence West along said boundary to centerline of Puckett Road (361-A)
and the point of beginning. Lying and being in County Commissioner
District No. 2.

PRECINCT NO. 8
Beginning at the center of Jefferson Street and Hampton Springs Avenue,
thence East along centerline of Hampton Springs Avenue to US 27 E, run
Southeast along US 27 E to the East city limits line of Perry, Florida,
thence Southerly along said city limits to the Southeast corner of
city limits, thence West along city limit boundary to the centerline
of the Puckett Road, thence North along centerline of Puckett Road to
Jefferson Street and continue North on Jefferson Street to the point

of beginning. Lying and being in County Commissioner District No. 2.
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C. COUNTY COMMISSIONER DISTRICT # 3.

PRECINCT NO. 3
Beginning at Hagens Cove and Gulf of Mexico, thence on Hagens Cove Road
to SR 361 (Beach Road), thence South and East on 361 to Tennille Turnpike
Road, thence North and East along the centerline of Tennille Turnpike
to the centerline at the intersection of Salem Tower Road, thence North
along said road to centerline at the intersection of Fish Creek Road,
thence West along said road to the centerline of CC Grade, thence
North along the centerline of said road to the intersection of Calvin
Morgan Road, thence West along centerline of said road to the inter-
section of Jody Morgan Road, thence Southwest along said road to the
intersection of Huxford Still Road, thence Northwesterly along centerline
of Huxford Still Road to the intersection of SR 361 (Beach Road) ,thence
South along centerline of said road to the Spring Warrior Creek, thence
Westerly and Southwesterly along the shoreline of the Gulf of Mexico
to Hagens Cove and the point of beginning. Lying and being in County
Commissioner District No. 3.

PRECINCT NO. 4
Beginning at Taylor County boundary line of 51, thence South to US 19,
North along centerline of said road to Tennille Turnpike Road, thence
West along centerline of Tennille Turnpike to the centerline of the
intersection of Salem Tower Road, thence North along said road to the
centerline of intersection of Fish Creek Road, thence feck alone said
road to the center line of intersection of CC grade, thence North on
said road to the centerline of Calvin Morgan Road, thence West to the
centerline of the intersection of the Jody Morgan Road, thence North-
easterly on said road to the Hiram Racking Road, thence North along

centerline of said road to the intersection of Leroy Morgan Road, then
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Southerly and Easterly along centerline of Leroy Morgan Road to the
centerline at the intersection of US 19, thence 2.2. miles Northwesterly
on said road to the centerline of Airport Road, thence Easterly along
centerline of the Taylor County boundary line, thence Southerly along
said boundary to the point of beginning. Lying and being in County
Commissioner District No. 3,

PRECINCT NO, 5
Beginning at Hagens Cove and Gulf of Mexico, thence East on Hagens Cove
Road to SR 361 (Beach Road), thence South and East on SR 361 to Tennille
Turnpike Road, thence North and East along centerline of said road to
the intersection of US 19, thence South along centerline of said road
to the intersection of SR 51, thence Northeast along centerline of
said road to the Taylor County boundary line, thence South along said
boundary to the Steinhatchee River (South County boundary line), thence
Southwest along the middle of said river to the Gulf of Mexico, thence
Northwest along the shoreline of the Gulf of Mexico to Hagens Cove and
the point of beginning. Lying and being in County Commissioner District
No. 3.

PRECINCT NO. 10
Beginning at the intersection of the East boundary of the city limits
of Perry, Florida, and the centerline of SR 356 (San Pedro Road) ,
run East and Southeast along the centerline of SR 356 to the centerline
of US 27, thence run northeasterly along the centerline of US 27 to the
East boundary line of Taylor County, run South along said boundary to
the centerline of graded road known as Cooks Hammock Grade, run North-

westerly along said graded road to the intersection of the center line
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of 356A(Padgett Road), thence West along centerline of 356A to the
centerline of the Seaboard Coastline Railroad, thence Northwest along
said railroad to the city limits of Perry, Florida, thence East along
city limit boundary to the Southeast corner, thence Northerly along
said boundary to the point of beginning. Lying and being in County
Commissioner District No. 3.

PRECINCT NO. 11
Beginning at the Taylor County boundary line and the intersection of
the Cooks Hammock Road, thence Northwesterly along centerline of Cooks
Hammock Road to SR 356 A (Padgett Road), thence West along centerline
of SR 356A to the centerline of US 19, thence South along the center-
line of US 19 to the Walker Road, thence Southwesterly along the center-
line of Walker Road to the centerline of the Potts Still Road, thence
Southerly on the Potts Still Road to Huxford Still Road, thence South-
erly along centerline of Huxford Still Road to the centerline of Jody
Morgan Road, thence East along Jody Morgan Road to the centerline of
the Hiram Racking Road, thence Northerly to the Leroy Morgan Road,
thence Easterly on said road to the centerline of US 19, thence North-
erly along centerline of US 19 2.2. miles to the Airport Road, thence
Easterly along the centerline of Airport Road to the Taylor County
boundary line, thence North along said boundary to the Cooks Hammock
Road and the point of beginning. Lying and being in County Commissioner

District No. 3.
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D. COUNTY COMMISSIONER DISTRICT # 4,

PRECINCT NO. 1
Beginning at the center of Jefferson Street and Hampton Springs Avenue,
thence East along centerline of Hampton Springs Avenue to US 27 E,
run Southeast along US 27 E to the East city limits line of Perry,
Florida, thence North along said city limits to the Northeast corner
of city limits, thence West along city limits boundary to centerline
of SR 55, thence South along centerline of SR 55 to Jefferson Street,
continue South on Jefferson Street to the point of beginning. Lying
and being in County Commissioner District No. 4.

PRECINCT NO. 6
Beginning at the center of the Aucilla River and the centerline of the
Williams Fish Camp Road, thence Northerly on said road to the inter-
section of Mandalay Road, thence Northeasterly along said road to the
intersection of Highway 98, thence East along centerline of Highway 98
to the intersection of Cabbage Grove Tower Road, thence Northerly
and Northeasterly along the centerline of said road to the intersection
of said road and US 19, thence Southeasterly along centerline of US 19
(1.6 miles) to the centerline of said road and O'Quinn Crossing Road,
thence Northeast along said road to the 68 Still Road, thence East
and Southeast along said road, thence Northeasterly and Northerly along
Paul Jeffery Log Road to the Taylor County boundary line, thence North
to the Northeast corner of Taylor County, thence West along county
boundary to the Northwest corner of county line, thence Southwest along
the middle of the Aucilla River to Williams Fish Camp Road and the

point of beginning. Lying and being in County Commissioner District

No. 3.
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PRECINCT NO. 7
Beginning at the North boundary of the city limits of Perry, Florida,
and the centerline of SR 55, thence Northwest along SR 55 to the inter-
section of Pisgah Road, thence West along the centerline of Pisgah
Road to the intersection of US 19, thence Northwesterly along the
centerline of US 19 to the intersection of O'Quinn Crossing Road,
thence Northeast along said road to the 68 Still Road, thence East
and Southeast along said road, then Northeasterly and Northerly along
Paul Jeffery Log Road to the Madison County line, thence East following
the county line to corner, thence South along county line to the center-
line of US 27 East, run Southwest along centerline of US 27 East to the
centerline of San Pedro Road (SR 356), tun Northwest and West along the
centerline of said road to the East boundary of the city limits of Perry,
Florida, thence North along city limits boundary to the Northeast corner
of city limits, run West along North boundary of city limits to the center-
line of SR 55 to the point of beginning. Lying and being in County

Commissioner District No. 4.
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E, COUNTY COMMISSIONER DISTRICT # 5.

PRECINCT NO. 9
Beginning at the intersection of Woods Creek Road and the West boundary
line of the city limits of Perry, Florida, thence South along said
boundary line to the Southwest corner of said city limits, thence East
along South city limits line to the centerline of Puckett Road, thence
South along the centerline of Puckett Road to the intersection of
Industrial Park Drive, thence East along Northside of centerline of
said road to the centerline of the intersection of Airport Drive,
thence North of Airport Drive to the intersection of Forest Capital
Drive, thence East along centerline of said road to the West side of US
19, thence South along West boundary of US 19 to the intersection of
Industrial Park Drive, thence West along South side of centerline of
said road to the intersection of Puckett Road, thence South along
centerline of said road to the intersection of Holt Road, thence West
along centerline of said road to the intersection of Golf Course Road,
thence South along centerline of said road to the middle of Fenholloway
River, thence Westerly and Northwesterly along middle of said river
to the intersection of Hampton Springs Road, thence North and North-
easterly along centerline of said road to the intersection of Highway
98, thence Northeasterly along centerline of Highway 98 West to the
intersection of O'Steen Road, thence North along centerline of said
road to the intersection of Woods Creek Road, thence East along center-
line of said road to the West city limits line and the point of beginning.

Lying and being in County Commissioner District No. 5.
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PRECINCT NO. 13

Beginning at the center of Jefferson Street and Hampton Springs Avenue
thence West along centerline of Hampton Springs Avenue at US 98 W, run
Southwest along US 98 W to the West city limits line of Perry, Florida,
thence South along said city limits to the Southwest corner of city
limits, thence East along city limits boundary to the centerline of

the Puckett Road, thence North along the centerline of Puckett Road

to Jefferson Street and continue North on Jefferson Street to the point

of beginning. Lying and being in County Commissioner District No. 5.
